AO 245C (Rev. 11/16) Amst PRagmehtiaGesQAQEQsRAJI Document 479 Filed 06/06/17 GRAB Gud! changes with Asterisks (+)

Sheet |

UNITED STATES DISTRICT COURT

Western District of Washington

UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
¥.
ROMAN SELEZNEV Case Number: 2:11CRO0070RAJ-001
USM Number: 04385-093
Igor Litvak
Defendant’s Attorney

Date of Original Judgment: 4/21/2017
(Or Date of Last Amended Judgment}

 

Reason for Amendment:

[_] Correction of Sentence on Remand (18 U.S.C. 3742(fKD and (2)}

[[] Reduction ef Sentence for Changed Circumstances (Fed. R. Crim.
P. 35(b))}

[_] Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35{a)}}
wf Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

LJ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e})
L] Modification of Imposed Term of Imprisonment for Extraordinary and
Compelling Reasons (18 U.S.C. § 3582(c}(1}}

["] Modification of Imposed Term of Imprisonment for Retroactive Amendinent{s}
to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

C1 Direct Motion to District Court Pursuant [2 28 U.S.C. § 2255 ar
[] [8 U.S.C. § 3559(c)(7)

["] Modification of Restitution Order (18 U.S.C. § 3664}

Namen ere me ee ne gl el Nee ee Nee! me mee Nagai! Sere” Snee”

THE DEFENDANT:
CO pleaded guilty to count(s)

 

C] pleaded nolo contendere to count(s}

 

which was accepted by the court.
(#f was found guilty on count(s) 1-10, 12-19, 21-29, 30-38, and 39-40

 

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section

     
 
   
   

 

ature of Offense

 

18 U.S.C. §1030(a}(5) 7/5/2014 42-19

 

The defendant is sentenced as provided in pages 2 through 5 _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

[¥{ The defendant has been found not guilty on count(s) 11 and 20

 

(J Count(s) [] is [are dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

4/21/2017 fy

ignature of Judge

Honcrable Richard A. Jones (ys District Judge

 

    

 

Name and Title of Judge

Mou € , d6)4

Date
AO 25C Rev. 11/16) AGEASEumeen GS QOQIORAI Document 479 Filed 06/06/17 Page 2 of 7
Sheet LA (NOTE: identify Changes with Asterisks (*))
Judgment — Page 2 of ss

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CROQ0070RAJ-001

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offens Offense Ended Count

 
       

at

18 U.S.C. §1029(a)(3) Access Device Fraud 41312044 30-38

 
(NOTE: Identify Changes with Asterisks (*)}

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Sheet 2 —~ Imprisonment .
Judgment — Page _ 3 of 5

 

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CROQ0070RAJ-001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

As to each of Counts 1-10, the defendant shall be commited to the custody of the United States Bureau of Prisons for a term of 200 months (25 years} to be tun concurrently with one another, and also concurrently with ali
other counts, except for counts 39 and 40, which must run consecutively. As to each of Counts 12-19 and 30-38, the defendant shail be committed to the custody of the United States Bureau of Prisons for a term of 120
months. The sentences on these counts shall run concurrently with one another, and also concurrently with all other counts, except for counts 39 and 40, which must run consecutively, As te each of Counts 21-29, the
defendant shall be committed to the custedy of the United States Bureau of Prisons for a term of 60 months. These sentences shall mn concurrently with one another and concurrently with al other counts, except for counts 39
and 40, which must nia consecutively. As to each of Counts 39 and 40, the defendant shail be committed to the custody of the United States Bureau of Prisons for a term of 24 months, These terms shall run concurrently with
one another, but the 24-month sentence on Counts 39 and 40 win run consecutively, as required by statute, to the 360-month term of imprisonment on all other counts. The total term of imprisonment is 324 months (27 years).

O The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

| The defendant shall surrender to the United States Marshal for this district:
cE} sat [J am. Cl opm. on

 

CJ as notified by the United States Marshal.

CO The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O before 2 p.m. on

 

(J as notified by the United States Marshal.
OO Ss asnotified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

Defendant delivered on to

at with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
AO 2SC (Rev. 11/16) Ameo edcaen GG O00,(O-RAI Document 479 Filed 06/06/17 Page 4 of 7

Sheet 5 — Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment-—Page = 4 oof
DEFENDANT: ROMAN SELEZNEV

CASE NUMBER: 2:11CROOQQ70RAJ-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 3800.00 3 0.00 $ 0.00 $3 169,905,166.49
(0 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
(] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

 

f Payee Total Loss** Restitution Ordered Priority or Percentage

 

 

 
   

and Exhibit A to the Govt's

 

TOTALS $ 169,905,166.49 $ 169,905,166.49

O_ sRestitution amount ordered pursuant to pleaagreement $

[1] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

wi The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
Wi the interest requirement is waived for. [] fine - restitution.

(] the interest requirement forthe (] fine C1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No, 114-22. . ;
** Findings for the total amount of losses are required under Chapters 109A, 1] 0, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO USC (Rev. 11/16) amos RuGine -Cfs0007(9-RAJ Document 479 Filed 06/06/17 Page 5 of 7

nit ina Criniin:
Sheet 6 — Scheduic of Payments ; (NOTE: Identify Changes with Asterisks (*)}

Judgment — Page 5 of 5

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CR00070RAJ-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [#{ Lump sum payment of $ _ 169,905, 166.49 - due immediately, balance due

(snot later than ,or
inaccordance with (7 C, [1 DBD, C1 E,or [fF below; or

B £1 Payment to begin immediately (may be combined with [J CG Ol Dor  F below); or

C QO Paymentinequal (e.g., weekly, monthly, quarterly) installmentsof $ __ overa period of
_____ (e.g., months or years), to commence __ (e.g., 30 or 60 days) after the date of this judgment; or
D [| Payment in equal . (e.g., weekly, monthly, quarterly) installments of $ over a period of
ss (eg., months or years), to commence ____(e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

jrprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F [ Special instructions regarding the payment of criminal monetary penalties:

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.
During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after release from imprisonment. .

Any unpaid amount shall be paid to Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[C] The defendant shall pay the cost of prosecution.

0

The defendant shall pay the following court cost(s):

(1 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, @) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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AO 245C (Rev. 11/16} Criminal Judgment ic' Disclosure

Attachment (Page 4) — Statement of Reasons

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CROCQ70RAJ-001

DISTRICT:

Western District of Washington.

STATEMENT OF REASONS

VII. COURT DETERMINATIONS OF RESTITUTION

A. (1 Restitution not applicable.

B. Total amount of restitution: $

 

C. Restitution not ordered: (Check only one)

l.

2.

t

o

For offenses for which restitution is otherwise mandatory under 18 ULS.C. § 3663A, restitution is not ordered because
the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(cK3 (A).
For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
because determining complex issues of fact and relating them to the cause or amount of the victims’ losses would
complicate or prolong the sentencing process to a degree that the need to provide restitution to any victim would be
outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c}(3(B).

For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
3663(a}( 1)(B Ui}.

For offenses for which restitution is otherwise mandatory under 18 U.S.C. $3 1593, 2248, 2259, 2264, 2327 or
36634, restitution is not ordered because the victim(s)(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5)).

For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s} elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(2)(1)).

Restitution is not ordered for other reasons: (Explain)

 

Partial restitution is ordered for these reasons: (/§ USC. § 3533)

VIL. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (ff applicable)

Defendant’s Soc. Sec. No.: _ Date of Imposition of Judgment

 

Defendant’s Date of Birth:

 

 

 

 

 

Signature of Judge
Defendant’s Residence
Address:
Name and Title of Judge
Date:
Defendant’s Mailing

Address:

 
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United States v. Roman Seleznev
Victim Restitution Amounts
per Victim Financial Loss Restitution Statements

 

 

 

 

A B c D
Restitution
Impact | Restitution Amount
1 Victim Statement | Statement | Requested
| [City Newsstand

4018 N Cicero Ave

2 |Chicagoe, IL 60641 yes yes $20,991.25
CJ Saretto
5255 Reeder School Rd

3 (Greenbrier TN 37073 yes yes $20,580.00

 

Double D Market & Catering
2595 County Road 516

4 |Old Bridge, NJ 08857 no. yes $12,128.11
Fighting Burrito
PO Box 1336 -
5 |Ames, IA 50014 no yes $5,995.00
Foley Fuel &
Lumber Company
240 Main Street
Box 157 ;
6 |Foley, MN56329 yes yes $10,399.88
G's Pizza

200 West Houghton Avenue
7 |West Branch, MI 48661 no yes $6,000.00
Grand Central Baking ,
2249 NW York Street
8 |Portland, OR 97210 no yes $6,575.00
Huston Zoo
1513 Cambridge ,

9 jHouston, TX 77030 yes yes $266,163.00
Mountain Mike's Pizza
11974 Highway 88,
Suite 2082

10 Jackson, CA 95642 yes yes $7,000.00
Pasta Factory

2 West Street St George Blvd.
#8

11 [St. George, UT 84770 yes yes $14,806,76
Shaka Sandwich & Pizza Inc.
1770 S. Kihei Road ;
12 |Kihei, HI 96753 yes yes $23,006.34
Tiffany's Pizza
PO Box 24

13 }Carleton, MI 48117 no yes $13,500.00
University Book Exchange, Inc
516 § Cotanche Stree

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

14 |Greenville, NC 27858 yes yes $43,214.37
Village Idiot Pizza
2009 Devine Street
15 |Columbia, SC 29205 yes yes $18,800.00
Zpizza Corp.
909 Canyon View Drive
16 |Laguna Beach, CA 92651 yes yes $31,970.00
17 TOTAL $486,322.95
18
19
20

 

Attachment B
CR 11-00070-RAS
